Case 21-18847-JKS   Doc 52    Filed 04/06/22 Entered 04/07/22 12:41:08   Desc Main
                             Document      Page 1 of 31
Case 21-18847-JKS   Doc 52    Filed 04/06/22 Entered 04/07/22 12:41:08   Desc Main
                             Document      Page 2 of 31
Case 21-18847-JKS   Doc 52    Filed 04/06/22 Entered 04/07/22 12:41:08   Desc Main
                             Document      Page 3 of 31
Case 21-18847-JKS   Doc 52    Filed 04/06/22 Entered 04/07/22 12:41:08   Desc Main
                             Document      Page 4 of 31
Case 21-18847-JKS   Doc 52    Filed 04/06/22 Entered 04/07/22 12:41:08   Desc Main
                             Document      Page 5 of 31
Case 21-18847-JKS   Doc 52    Filed 04/06/22 Entered 04/07/22 12:41:08   Desc Main
                             Document      Page 6 of 31
Case 21-18847-JKS   Doc 52    Filed 04/06/22 Entered 04/07/22 12:41:08   Desc Main
                             Document      Page 7 of 31
Case 21-18847-JKS   Doc 52    Filed 04/06/22 Entered 04/07/22 12:41:08   Desc Main
                             Document      Page 8 of 31
Case 21-18847-JKS   Doc 52    Filed 04/06/22 Entered 04/07/22 12:41:08   Desc Main
                             Document      Page 9 of 31
Case 21-18847-JKS   Doc 52    Filed 04/06/22 Entered 04/07/22 12:41:08   Desc Main
                             Document     Page 10 of 31
Case 21-18847-JKS   Doc 52    Filed 04/06/22 Entered 04/07/22 12:41:08   Desc Main
                             Document     Page 11 of 31
Case 21-18847-JKS   Doc 52    Filed 04/06/22 Entered 04/07/22 12:41:08   Desc Main
                             Document     Page 12 of 31
Case 21-18847-JKS   Doc 52    Filed 04/06/22 Entered 04/07/22 12:41:08   Desc Main
                             Document     Page 13 of 31
Case 21-18847-JKS   Doc 52    Filed 04/06/22 Entered 04/07/22 12:41:08   Desc Main
                             Document     Page 14 of 31
Case 21-18847-JKS   Doc 52    Filed 04/06/22 Entered 04/07/22 12:41:08   Desc Main
                             Document     Page 15 of 31
Case 21-18847-JKS   Doc 52    Filed 04/06/22 Entered 04/07/22 12:41:08   Desc Main
                             Document     Page 16 of 31
Case 21-18847-JKS   Doc 52    Filed 04/06/22 Entered 04/07/22 12:41:08   Desc Main
                             Document     Page 17 of 31
Case 21-18847-JKS   Doc 52    Filed 04/06/22 Entered 04/07/22 12:41:08   Desc Main
                             Document     Page 18 of 31
Case 21-18847-JKS   Doc 52    Filed 04/06/22 Entered 04/07/22 12:41:08   Desc Main
                             Document     Page 19 of 31
Case 21-18847-JKS   Doc 52    Filed 04/06/22 Entered 04/07/22 12:41:08   Desc Main
                             Document     Page 20 of 31
Case 21-18847-JKS   Doc 52    Filed 04/06/22 Entered 04/07/22 12:41:08   Desc Main
                             Document     Page 21 of 31
Case 21-18847-JKS   Doc 52    Filed 04/06/22 Entered 04/07/22 12:41:08   Desc Main
                             Document     Page 22 of 31
Case 21-18847-JKS   Doc 52    Filed 04/06/22 Entered 04/07/22 12:41:08   Desc Main
                             Document     Page 23 of 31
Case 21-18847-JKS   Doc 52    Filed 04/06/22 Entered 04/07/22 12:41:08   Desc Main
                             Document     Page 24 of 31
Case 21-18847-JKS   Doc 52    Filed 04/06/22 Entered 04/07/22 12:41:08   Desc Main
                             Document     Page 25 of 31
Case 21-18847-JKS   Doc 52    Filed 04/06/22 Entered 04/07/22 12:41:08   Desc Main
                             Document     Page 26 of 31
Case 21-18847-JKS   Doc 52    Filed 04/06/22 Entered 04/07/22 12:41:08   Desc Main
                             Document     Page 27 of 31
Case 21-18847-JKS   Doc 52    Filed 04/06/22 Entered 04/07/22 12:41:08   Desc Main
                             Document     Page 28 of 31
Case 21-18847-JKS   Doc 52    Filed 04/06/22 Entered 04/07/22 12:41:08   Desc Main
                             Document     Page 29 of 31
Case 21-18847-JKS   Doc 52    Filed 04/06/22 Entered 04/07/22 12:41:08   Desc Main
                             Document     Page 30 of 31
Case 21-18847-JKS   Doc 52    Filed 04/06/22 Entered 04/07/22 12:41:08   Desc Main
                             Document     Page 31 of 31
